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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


 UNITED STATES OF AMERICA                   §
                                            §
 v.                                         §          Criminal No. 4:21-cr-00009
                                            §
 ROBERT T. BROCKMAN                         §


                    DECLARATION OF KATHRYN KENEALLY

        I, Kathryn Keneally, declare as follows:

        1.    I am a member of the bar of the State of New York and various federal courts.

On January 8, 2021, I was admitted pro hac vice to appear in the United States District

Court for the Southern District of Texas. Dkt. No. 8. I am a partner of the law firm Jones

Day and counsel for the Defendant Robert T. Brockman. I make this Declaration in support

of Defendant Robert T. Brockman’s Motion to Modify Protective Order.

        2.    Attached hereto as Exhibit 1 is a copy of the protective order entered in this

case on November 30, 2020, by the Honorable Judge William Alsup of the Northern

District of California, which is part of the record in this case at Dkt. No. 1-2 at 265–269

(the “Protective Order”).

        3.    Following the entry of the Protective Order, the government began producing

its required discovery under Rule 16. To date, the government has produced approximately

1 terabyte of data, which I am told equates to over 5.3 million pages of discovery. The

government has not yet completed its discovery disclosure.




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         4.    On September 9, 2021, the Internal Revenue Service issued a Notice of

Jeopardy Assessment and Rights to Appeal concerning Mr. Brockman’s alleged individual

income tax liability for taxable years 2004–2007, 2010, and 2012–2018 (the “Jeopardy

Assessment”), and a Notice of Jeopardy Levy and Right of Appeal for collection of the

alleged liability set forth in the Jeopardy Assessment (the “Jeopardy Levy”). The IRS also

engaged in collection activity, including seizing assets and obtaining liens on property

belonging to Mr. Brockman, as well as seizing assets and liening properties owned by

certain third parties.

         5.    Accompanying the Jeopardy Assessment was the Jeopardy Recommendation

Report (the “Jeopardy Report”), in which the IRS set out its basis for making a jeopardy

assessment against Mr. Brockman. I have reviewed the Jeopardy Report, and it appears

from the face of the Jeopardy Report that the IRS has had access to at least some of the

materials that have been produced by the government in this case pursuant to the Protective

Order.

         6.    Mr. Brockman has exhausted administrative remedies challenging the

Jeopardy Assessment and Jeopardy Levy.

         7.    On January 20, 2022, Mr. Brockman filed a Complaint in this district for

judicial review and abatement of the Jeopardy Assessment and Jeopardy Levy, captioned

as Brockman v. United States, No. 4:22-cv-00202 (SDTX).            On January 21, 2022,

Mr. Brockman filed a Motion For Determination On Complaint For Judicial Review and

Abatement of Jeopardy Assessment and Jeopardy Levy Pursuant to 26 U.S.C. § 7429.

Copies of the Jeopardy Assessment, the Jeopardy Levy, and the Jeopardy Report were filed


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under seal as part of that Motion. See Brockman v. United States, No. 4:22-cv-00202

(SDTX), Dkt. No. 10. Mr. Brockman plans timely to file a Petition in the United States

Tax Court on or before January 26, 2022, to challenge the tax deficiency.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on January 21, 2022.



                                             /s/ Kathryn Keneally




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                   EXHIBIT 1
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                   6                                   UNITED STATES DISTRICT COURT

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                                                      NORTHERN DISTRICT OF CALIFORNIA
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                  10      UNITED STATES OF AMERICA,
                  11                     Plaintiff,                             No. CR 20-00371 WHA

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 0,.8             13      ROBERT T. BROCKMAN,
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                                                                                ORDER RE PARTIES' STIPULATED
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      u                                                                         REQUEST FOR PROTECTIVE
                  14                     Defendants.                            ORDER AND THE GOVERNMENT'S
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6 .....0                                                                        MOTION FOR DISCLOSURE
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                                                                                UNDER§ 6103(h)(4)(D)
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  i::::   t                    Defendant Robe1i Brockman and the United States of America, by and through its
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                         counsel of record, both move for a protective order in this case, pursuant to Federal Rules of
                  19
                         Criminal Procedure 16(d). The government additionally moves for an order pennitting it to
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                         disclose third paiiy tax info1mation pursuant to 26 U.S .C. Section 6103(h)(4)(D). The
                  21
                         foregoing order addresses parties' request, with modifications both formatted in bold
                  22
                         and underlined.
                  23
                               On October 1, 2020, a federal grandjmy in the No1i hern District of California returned
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                         an Indictment charging defendant with: conspiracy to defraud the United States, in violation of
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                          18 U.S.C. § 371; tax evasion, in violation of26 U.S.C. § 7201; FBAR repo1i ing violations, in
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                         violation of3 1 U.S .C. §§ 5314 and 5322; wire fraud, in violation of 18 U.S.C. § 1343; money
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                         laundering, in violation of 18 U.S .C. §§ 1956(a)(l )(A)(ii), (a)(l )(B)(i), and (a)(2)(B)(i);
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                         evidence tampering, in violation of 18 U.S.C. § 1512(b)(2)(B); and destm ction of evidence, in
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                         violation of 18 U.S .C. 1512(c)(l ). Having received a discove1y request under Fed. R. Crim. P.
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                          16, the United States will produce documents and other materials pertaining to defendant and
                   4
                         the charged offenses to defense counsel. The discove1y to be provided includes documents or
                   5
                         other materials falling into one or more of the following categories (collectively, ''protected
                   6
                         info1mation"):
                   7

                   8        1. Personal identifying info1mation of individuals (other than individuals' names),
                   9            including the person's date of birth, social security number, residence or business
                  10            address, telephone numbers, email addresses, driver's license number, professional
                  11            license number, family members names, or criminal histories ("personal identifying
           ro     12            info1mation");
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  .......                   2. Financial info1mation of individuals or businesses, including bank account numbers,
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      u           14            credit or debit card numbers, account passwords, contact info1mation, and taxpayer
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                  15            identification numbers ("financial info1mation"), but not including parties names;
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..... 0           16        3. Medical records or other patient info1mation of individuals covered by the Health
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          z       18            and
                  19        4. Tax return info1mation, as defined by Title 26, United States, Code, Section 6103(b)(l )
                  20            and (2), pertaining to third pa1i ies, but excluding third parties' names.
                  21
                               To ensure that protected info1mation is not subject to unauthorized disclosure or misuse,
                  22
                               IT IS HEREBY ORDERED that, pursuant to Fed. R. Crim. P. 16(d)(l ), defendant,
                  23
                         defense counsel ofrecord, their investigators, assistants, and employees (collectively, "the
                  24
                         defense team") may review with defendant all discove1y material produced by the government,
                  25
                         but shall not provide anyone other than the defense team with copies of, or pe1mit anyone other
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                         than the defense team to make copies of, or have unsupervised access to, any discove1y
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                        material produced by the government that contains protected info1mation. Defense team may
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                        provide documents to witnesses if the personal identifying info1mation, financial
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                        info1mation, and/or medical info1mation has first been entire~y redacted from the discove1y
                  4
                        materials. The government and defense counsel are ordered to work together to ensure that
                  5
                        these materials are protected, but that the defense team has as much access to the materials as
                  6
                        can be provided consistent with this Court's order. Discove1y material that clearly pertains to
                  7
                        defendant and does not contain protected info1mation regarding any other person (e.g. ,
                  8
                        defendant's own bank records, telephone records, and business records) may be provided to
                  9
                        defendant unredacted.
                 10
                             Defense counsel may also provide unredacted copies of protected info1mation to any
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                        expe1is or consultants retained to assist with the preparation of the defense in the captioned
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                        case. Defendant, all members of the defense team, and any expe1is or consultants who receive
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...., ro                discove1y under this order shall be provided a copy of this order along with those materials and
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"'in      0             shall, in advance of receiving the copies, initial and date the order reflecting their agreement
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                        to be bound by it.
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-0        l--;               The materials provided pursuant to this protective order may only be used for the specific
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                        the Comi.
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                             This order shall also apply to any copies made of any materials covered by this order.
                 20
                             IT IS FURTHER ORDERED that the government's discovery disclosures to
                 21
                        defendant, shall contain info1mation that includes tax retmn info1mation of third pa1iies, as
                 22
                        defined by 26 U.S.C. 6103(b)(l) and (2), pursuant 26 U.S.C. 6103(h)(4) so long as it: 1)
                 23
                        pe1iains to defendant; 2) is related to items contained within defendant's income tax retmns; 3)
                 24
                        is relevant to a transaction involving defendant and a third pa1iy taxpayer; or 4) is othe1wise
                 25
                        required to be disclosed under 18 U.S .C. § 3500. Defendant, all members of the defense team,
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                        and any experts or consultants who receive discove1y under this order shall maintain the
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                        confidentiality of all tax return infonnation provided by the government in discove1y in
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                        accordance with 26 U .S.C. 6103(a) and this order, other than m aterial that clearly pertains to
                  3
                        defendant and does not contain tax return info1mation regarding any other person.
                  4
                              IT IS FURTHER ORDERED that neither defendant nor any member of the defense team
                  5
                        shall provide copies of any discove1y material produced by the government            whether or aot
                  6
                        the material eoastit-Htes or eoataias Pretested Informatioa v.rithia the meamag of this Order      if
                  7
                        that material contains protected information within the meaning of this order, to any third
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                        party (i.e., any person who is not a member of the defense team). Nor may parties make any
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                        public disclosme of the same, other than in a court filing, without the go•1erBlfteftt' s e~tpress
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                        v,ritleft permissioft or finiher order of the Comi. No provision ofthis order shall prevent defense
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                        counsel from discussing, and showing, discove1y provided by the government with potential trial
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                        witnesses and their counsel, as necessaiy to prepai·e for trial. If a specific problem arises, either
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...., ro                party may bring the issue to the Court. If a paiiy files a pleading that references or contains
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"'in      0             or attaches protected info1mation subject to this order, that filing must comply with Fed. R. Crim.
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                        P. 49 .1. If a paiiy files a pleading that references or contains or attaches medical info1mation or
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 i::::   t              attachment must be made under seal. This order authorizes such filings under seal and the pa1iies
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                        ai·e not required to seek additional authorization from the Comito do so.
                 19
                              IT IS FURTHER ORDERED that defense counsel shall retmn materials subject to this
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                        protective order (including any copies) to the United States within 28 +4 days after whichever
                 21
                        event occurs last in time: dismissal of all chai·ges against defendant; defendant's acquittal;
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                        defendant's sentencing; or the conclusion of any direct appeal. After the United States
                 23
                        receives docmnents and m aterials subject to this order, it shall maintain those documents and
                 24
                        materials until the period for filing a motion under 28 U .S.C. § 2255 has expired. After the
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                        statuto1y period for filing a motion under 28 U.S .C. § 2255 has expired, the United States is
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                        free to destroy docmnents and m aterials subject to this order. If defendant is represented by
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                        counsel and files a motion pursuant to 28 U.S .C. § 2255, the United States will provide
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                        defense counsel with the documents and materials subject to this protective order under the
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                        ten ns of this order. Defendant's attorney in any motion under 28 U.S .C. § 2255 shall return
                  4
                        the documents and materials subject to this protective order within 28 +4 days after the district
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                        court's rnling on the motion or 28 +4 days after the conclusion of any direct appeal of the
                  6
                        district comt's order denying the motion, whichever is later. This stipulation is without
                  7
                        prejudice to either party applying to the Comt to modify the ten ns of any protective order.
                  8
                        This comt shall retain jurisdiction to modify this order upon motion of either pa1ty even after
                  9
                        the conclusion of district comt proceedings in this case.
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                             IT IS SO ORDERED.
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